         Case 2:20-cv-06273-JAK-SK Document 7 Filed 07/15/20 Page 1 of 2 Page ID #:23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

    BANYAN RISK GROUP, LLC, a limited liability                     )
                  company,                                          )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:20-cv-6273-DDP-SK
                                                                    )
  SPOTLIGHT OPERATIONS LLC, a limited liability                     )
 company, GENIUS FUND I, INC., a corporation, and                   )
    GARY SHINDER a/k/a IGOR SHINDER, an                             )
                  individual,                                       )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SPOTLIGHT OPERATIONS LLC
                                           6960 S. Centinela Avenue, Culver City, CA 90230

                                           GENIUS FUND I, INC. and
                                           GARY SHINDER a/k/a IGOR SHINDER
                                           255 West Foothill Blvd., #205
                                           Upland, CA 91786

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Mark K. de Langis
                                           Lucas Valley Law
                                           2110 Elderberry Lane
                                           San Rafael, CA 94903



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK
                                                                              C ERK OF C
                                                                              CL       COURT
                                                                                         OURT


Date:             07/15/2020
                                                                                         Signature
                                                                                         Si   t    off Clerk or Deputy Clerk
          Case 2:20-cv-06273-JAK-SK Document 7 Filed 07/15/20 Page 2 of 2 Page ID #:24

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 Civil Action No. 2:20-cv-6273-DDP-SK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
